           Case 6:24-cv-00362-XR Document 21-1 Filed 09/04/24 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS


FACTOR 2 MULTIMEDIA SYSTEMS, LLC,

                         Plaintiff,               C.A. No. 6:24-cv-00362-XR

      v.                                          JURY TRIAL DEMANDED
EARLY WARNING SERVICES, LLC;
BANK OF AMERICA CORPORATION.;
TRUIST FINANCIAL CORPORATION;
CAPITAL ONE FINANCIAL
CORPORATION; JPMORGAN CHASE &
CO.; THE PNC FINANCIAL SERVICES
GROUP, INC.; U.S. BANCORP; and
WELLS FARGO & COMPANY,
                   Defendants.


    ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION OF TIME FOR
         WELLS FARGO & COMPANY TO RESPOND TO COMPLAINT

       Before the Court is Defendant Wells Fargo & Company’s Unopposed Motion for

Extension of Time to Respond to Complaint. Having reviewed the motion, the Court is of the

opinion that the motion should be GRANTED. Accordingly, the Court hereby GRANTS

Defendant Wells Fargo & Company’s Unopposed Motion for Extension of Time to Respond to

Plaintiff’s Complaint.

       Defendant Wells Fargo & Company shall have up to and including October 21, 2024, to

respond to Plaintiff’s Complaint.



       Signed this ___ day of __________, 2024.


                                                   XAVIER RODRIGUEZ
                                                   UNITED STATES DISTRICT JUDGE
